657 F.2d 1008
    Raymond RUSSELL, Appellant,v.BOARD OF TRUSTEES OF UNIVERSITY OF ARKANSAS, Specifically,Raymond P. Miller, M.D., Chairman, Lewis L. Ramsay, Jr.,Bradley D. Jesson, Kaneaster Hodges, Diane Nolan, JacquelineDouglas, Ph.D., Robert Pugh, Hugh B. Chalmers, JackWilliams, Hall McAdams, III, and Herman Smith, Chancellor,University of Arkansas at Pine Bluff, Appellees.
    No. 80-1965.
    United States Court of Appeals,Eighth Circuit.
    Submitted Aug. 13, 1981.Decided Sept. 4, 1981.
    
      Silas H. Brewer, Jr.  (argued), Kaplan Brewer &amp; Bilheimer, P.A., Little Rock, Ark., for appellant.
      Ray Trammell, Gen. Counsel, University of Arkansas, Fayetteville, Ark., (argued), Nelwyn Davis, Asst. Atty. Gen., Little Rock, Ark., for appellees.
      Before HENLEY and ARNOLD, Circuit Judges, and BECKER,* Senior District Judge.
      PER CURIAM.
    
    
      1
      Raymond Russell appeals the District Court's1 dismissal of his suit for injunction under 42 U.S.C. §§ 1981 and 1983 against the Board of Trustees of the University of Arkansas.  Russell claims that the Board lowered the age of mandatory retirement that had previously been in effect, without giving him notice and an opportunity to be heard.  This action, he asserts, deprived him of property without due process of law.
    
    
      2
      The District Court held in a thorough opinion, Russell v. Board of Trustees of University of Arkansas, 502 F.Supp. 916 (E.D.Ark.1980), that Russell had a "property interest" entitled to protection under the Due Process Clause of the Fourteenth Amendment, but that he had received all the process that was his due.  The District Court held in particular that the Board had taken reasonable steps to give Russell appropriate notice of its action.  We affirm, substantially for the reasons given by the District Court.  See 8th Cir.R. 14.  The action of the Board of Trustees was quasi-legislative, and Russell received at least as much notice as was required.
    
    
      3
      Affirmed.
    
    
      
        *
         The Hon. William H. Becker, Senior United States District Judge for the Western District of Missouri, sitting by designation
      
      
        1
         The Hon. Garnett Thomas Eisele, Chief Judge, United States District Court for the Eastern District of Arkansas
      
    
    